The Attorney General is in receipt of your request for an opinion wherein you asked substantially the following question: Does the Oklahoma Department of Transportation (ODOT) have authority to accept federal funds and execute and fulfill an agreement to pay a railroad company "rail service continuation payments" under the Railroad Revitalization and Regulatory Reform Act of 1976 (the 4R Act) in order to ensure continued rail service on a line which otherwise would be abandoned, where such federal funds are utilized with a prorated amount, contributed by the state from funds in the Railroad Revolving Account, which have been received from all sources designated for that account, including private contributions so designated ? The Railroad Revitalization and Regulator Reform Act of 1976 was created to rehabilitate and maintain the physical facilities, improve the operations and structure, and restore the financial stability of the railway system of the United States by providing financial assistance to states for rail freight assistance programs. Title 66 O.S.A. 302-1 states that, this act shall be known and may be cited as the Railroad Revitalization Act. 66 O.S. 303 [66-303](A) as used in this act defines "Department" as the Oklahoma State Department of Transportation.  66 O.S. 304 [66-304](A) authorizes the Department to acquire, construct, reconstruct, repair, replace, operate and maintain railroad rights of way and trackage projects at such locations and on such routes as it shall determine to be feasible and economically sound.  Section F authorizes the Department to receive and accept from the State or any federal agency grants of funds for or in aid of the construction, reconstruction, replacement, repair, maintenance and operation of railroad rights of way and trackage and to receive and accept aid or contributions from any source of either money, property, labor or other things of value to be held, used and applied only for the purposes for which such grants and contributions may be made.  66 O.S. 309 [66-309] creates in the State Treasurer's Office a revolving fund for the Department to be designated the Oklahoma Railroad Maintenance Revolving Fund. The funds shall be composed of all revenues generated by the provisions of 68 O.S. 2201 [68-2201] et seq. of the Oklahoma Statutes which are beginning July 1, 1978, henceforth levied for and dedicated to the implementation of the provisions of this act together with any federal grants, private donations and accumulated interests thereon.  On October 23, 1978, the Department of Transportation of the Federal Railroad Administration approved the Oklahoma State Rail Plan.  The Oklahoma Railroad Revitalization Act does not expressly allow funds received by this agency to be paid to a railroad company as "rail service continuation payments." Article X, Section 15 of the Constitution of the State of Oklahoma states that the credit of the State shall not be given, pledged, or loaned to any individual company, corporation, or association, municipality, or political subdivision of the State; nor shall the State become an owner or stockholder in, nor make donation by gift subscription to stock, by tax, or otherwise, to any company, association, or corporation. It is, therefore, the opinion of the Attorney General that your questions be answered as follows: (1) The newly created Oklahoma State Department of Transportation has the statutory authority to accept federal funds for rail service assistance under the Railroad Revitalization and Regulatory Reform Act of 1976.  (2) The Department cannot pay "rail service continuation payments" to a railroad company whether the funds be from public or private sources.  (VICTOR G. HILL, JR.) (ksg) ** SEE: OPINION NO. 79-108 (1979) ** ** SEE: OPINION NO. 79-299 (1979) ** ** SEE: OPINION NO. 80-123 (1980) **